972 F.2d 342
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frizell STEPHENS, Plaintiff-Appellant,v.Raymond M. MUNCY, Warden, Defendant-Appellee.
    No. 92-6205.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 3, 1992Decided:  August 10, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-89-547-N)
      Frizell Stephens, Appellant Pro Se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Virginia, for Appellee.
      E.D.Va.
      Affirmed.
      Before WIDENER and HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Frizell Stephens appeals from the district court's order denying his Motion for Relief of Order under Fed.  R. Civ. P. 60(b).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Stephens v. Muncy, No. CA-89-547-N (E.D. Va.  Jan. 24, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    